                                                                                  Case 6:20-cv-00585-ADA Document 272-16 Filed 10/04/23 Page 1 of 4
=     Google Account Help                             Describe your issue



Help Center   Community                                                                                                                                                                          Google Account [J


                                                                                                                                     Help

                                                                                                                                     E)     create a Google Account

                     Manage your Location History                                                                                    E)     createa strong password & a more
                    Location History is a Google Account-level setting that saves where you go with every mobile                            secure account
                    device where:




                                                                                                                                     fa
                                                                                                                                            Verify your account
                             signed in to your Google Account,
                         You're
                      You have turned on Location History, and




                                                                                                                                     fu
                                                                                                                                            Control what others see about you
                      The device has Location Reporting turned on.                                                                          across   Google services
                    When you turn on Location History, you may see a number of benefits across Google products




                                                                                                                                     @
                                                                                                                                            Someone changed your password
                    and services, including personalized maps, recommendations based on places you’ve visited,
                    help finding your phone, real-time traffic updates about your commute, and more useful ads.                             Be ready to find a lost Android device

                      Location History is turned off by default for your Google Account and can only be turned on
                         if you opt in.                                                                                                     Manage your Location History

                                                                          Google Account's Activity controls @.
                         You can pause Location History at any time in your




                                                                                                                                     Ho
                                                                                                                                            Set up a recovery phone number or
                      You control what’s saved in your Location History. You can view the places where you’ve                               email address
                      been in Google Maps Timeline, which you can edit or use to delete your Location History.
                                                                                                                                            Turn cookies on or off
                    Important: Some of these steps work only on Android 8.0 and up. Learn how to check your
                    Android version.                                                                                                 =]     Howto recover your    Google Account or
                                                                                                                                            Gmail

                    Turn Location History on or off                                                                                  E)     Find & control your Web & App Activity
                    You can turn off Location History for your account at any time. If you use a work or school
                    account, your administrator needs to make this setting available for you. If they do, you'll be                  E)     Control the ads you see
                    able to use Location History as any other user.

                     1. Go to the "Location          History" section & of your Google Account.
                    2. Choose whether your account or your devices can report Location History to              Google.
                              -
                                  Your account and all devices: At the top, turn Location History on or off.
                              -
                                  Only a certain device: Under "This device" or "Devices on this account," turn the device
                                  on or off.



                    When Location History is on
                         Google only receives Location History for each device where you are signed in and you have
                         Location Reporting turned on.

                         You can change the Location Reporting setting for each device where you're signed in, and
                         limit which devices provide location data to be included in Location History. If you want to
                         change your Location History settings, you can choose to:
                          -
                            Report your location from only some of your devices, but not others.
                          -
                                  Report your location from all your devices.
                                                               Google Account. Your location won't be reported from
                                  Turn off Location History for your
                           any of your devices and you will not have new Location History recorded to your account.
                     -
                         Your settings for other location services on your device, like Google Location Services,
                         Location Sharing, and Find My Device, aren't changed.


                    When Location History is off
                     -
                         Your device's locations will not be automatically saved to your Location History.
                     -
                         Previous activity is not deleted from your Location History. You can manually delete your
                         Location History.
                         Yoursettings for other location services on your device, like Google Location Services,
                         Location Sharing, and Find My Device, aren't changed.
                         Some location data may continue to be saved in other settings, like Web & App Activity, as
                         part of your use of other services, like Search and Maps, even after you turn off Location
                         History.

                     Delete Location History
                    You can manage and delete your Location History information with              Google Maps Timeline &.
                    You can choose to delete all of your history, or only parts of it.

                    Important: When you delete Location History information from Timeline, you won't be able to                                                                          PLAINTIFF'S
                                                                                                                                                                                           EXHIBIT
                    see It         again.
                                                                                                                                                                                       PTX-491
                                                                                                                                                                                       6:20-cv-572/580/584/585
                    Use the          Google Maps app                                                                        A

                                                                                                                                                                                      PTX-491-0001

                          Delete all Location History
                                  1. On vour Android device, open the Google Maps app
                                                                                                                                                                                        GOOG-WS0OU585-00139523
               “




    2. Tap your profile picture or initial   Your Timeline
                                                     Case w.
                                                           6:20-cv-00585-ADA Document 272-16 Filed 10/04/23 Page 2 of 4
    3. Inthe top right, tap More : > Settings and privacy.
    4. Under "Location settings," tap Delete all Location History.
    5. Follow the on-screen instructions.

  Delete a range of Location History
    1. On your Android device, open the          Google Maps app         ”.                              Help
    2. Tap yourprofile picture or initial @ > Your Timeline ~.
                                                                                                         El     Create a Google Account
    3. Tap More :     Settings and privacy.
                          >


    4. Under "Location settings," tap Delete Location History range.                                            Create a strong password & a more
    5. Follow the on-screen instructions.                                                                       secure account



  Delete a day from Location History                                                                            Verify your account
    1. On your Android device, open the          Google Maps app         ”.




                                                                                                         aw
                                                                                                                Control what others see about you
        .
        .
            Tap your profile picture or initial @        Your Timeline w.
                                                                                                                across   Google services
            Tap Show calendar
    W




        .
        .




                                                                                                        @
            Select which day you want to delete.                                                                Someone changed your password
   KR




        .
        .




            Tap More : > Delete day.
    a




        .
        .




                                                                                                                Be ready to find a lost Android device
   non




        .
        .   Follow the on-screen instructions.

  Delete a stop from Location History
                                                                                                                Manage your Location History

                                                 Google Maps app




                                                                                                         Ho
    1. On your Android device, open the                                  ”.
                                                                                                                Set up a recovery phone number or
        .
        .
            Tap your profile picture or initial @ Your Timeline w.                                              email address

            Tap Show calendar
    W




        .
        .




                                                                                                                Turn cookies on or off
            Select the day with a stop you want to delete.
   KR




        .
        .




            Tap the stop you want to delete > Delete




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    a




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        .
                                                                                                                How to recover your   Google Account or
   non




        .
        .   Follow the on-screen instructions.                                                                  Gmail


                                                                                                                Find & control your Web & App Activity
Use a web browser                                                                               A

                                                                                                                Control the ads you see

  Delete all Location History
    1. In your web browser, open your         Google Maps Timeline @.
    2. Tap Delete
    3. Follow the on-screen instructions.

  Delete a day from Location History
    1. In your web browser, open your         Google Maps Timeline @.
    2. Choose a year, month, and day you want to delete.
    3. Tap Delete
    4. Follow the on-screen instructions.


  Delete a stop from Location History
    1. In your web browser, open your         Google Maps Timeline @.
    2. Choose a year, month, and day you want to delete.
    3. Next to the stop you want to delete, tap More :             >»   Remove stop from day.
    4. Follow the on-screen instructions.




Automatically delete your Location History
You can choose to automatically delete Location History that’s older than 3 months, 18 months,
or 36 months.



Use the      Google Maps app                                                                    A



    1. On your Android device, open the          Google Maps app         ”.


    2. Tap your  profile picture or initial      Your Timeline w.
                                                    »


    3. At the top right, tap More :       Settings and privacy.
                                          >


    4. Scroll to "Location settings."
    5. Tap Automatically delete Location History.
    6. Follow the on-screen instructions.



Use a web browser                                                                               A



    1. In your web browser, open your    Google Maps Timeline @.
    2. At the bottom right, click Settings      Automatically delete Location History.
                                                        >»


    3. Follow the on-screen instructions.



                                                                                                                                                          PTX-491-0002
What happens after you delete some or all Location History
If you delete some or all of your Location History, some personalized experiences across
Google may be degraded or lost. For example:
                                                                                                                                                            GOOG-WS0OU585-00139524
-                                                    Case
    Albums in Google Photos automatically created from    6:20-cv-00585-ADA
                                                       places you’ve visited Document 272-16 Filed 10/04/23 Page 3 of 4
    Recommendations based on places you’ve visited
    Real-time information about the best time to leave for home or work in order to beat the
    traffic

Important: If you have other settings like Web & App Activity turned on and you pause
Location History or delete location data from Location History, you may still have location data
                                                                                                         Help
saved in your Google Account as part of your use of other Google sites, apps, and services. For
example, location data may be saved as part of activity on Search and Maps when your Web &               E)     create a Google Account
App Activity setting is on, and included in your photos depending on your camera app settings.
                                                                                                         E)     createa strong password & a more

Usage & diagnostics for Location History                                                                        secure account




                                                                                                         fa
When you turn on Location History, your device may send diagnostic information to Google                        Verify your account
about what’s working and not working for Location History. If you turn Location History off, you




                                                                                                         fu
can decide whether to share usage and diagnostics information.                                                  Control what others see about you
                                                                                                                across   Google services
All usage and diagnostics information is used in accordance with Google’s privacy policy &.




                                                                                                        @
                                                                                                                Someone changed your password
What information your device could share                                                           A

                                                                                                                Be ready to find a lost Android device
    Your device may send information to             Google to help improve Location History. For
    example, sent information could include:                                                                    Manage your Location History
        Quality and length of your connections to mobile networks, GPS, Wi-Fi networks, or




                                                                                                         Ho
                                                                                                                Set up a recovery phone number or
        Bluetooth                                                                                               email address
    -
        State of your location settings
    -
        Restarts and crash reports                                                                              Turn cookies on or off

    -
        Apps used to turn Location History on or off                                                     =]     Howto recover your    Google Account or
    -
        Battery levels                                                                                          Gmail


                                                                                                         E)     Find & control your Web & App Activity
How shared information helps               Google improve                                          A


                                                                                                         E)     Control the ads you see
    Usage and diagnostics information can help improve Google apps, products, and Android
    devices. For example, Google can use information to improve:
    -
        Battery life: Google can use information about what's using the most battery on your
        device to help reduce battery consumption for commonly used features.
    -
        Location accuracy: Google can use information from location sensors and settings to
        help improve location estimates for apps and services.


Learn about your data in Google Maps




                       Your browser can't play this video.
                       Learn more




Learn more about other location settings
    Choose which apps can use your location: Learn how to manage app location settings.
-
    Learn how to turn your device's location on or off.
    Find your location on a map: Learn how to find & improve your location’s accuracy in Google
    Maps.
-
    Manage your history of the places you've been and the routes you've traveled: Learn how to
    edit your timeline on Google Maps.


        Give feedback about this article




Was this helpful?                  Yes            No




                                               Need more help?
                                                                                                                                                          PTX-491-0003
                                                   Try these next steps:


                                      aa Ask the Helo Communitv                                                                                             GOOG-WS0OU585-00139525
                                                     aol




                             Get answers from community experts
                                                     Case 6:20-cv-00585-ADA Document 272-16 Filed 10/04/23 Page 4 of 4




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                                                      English                                           Help

                                                                                                               Create a Google Account


                                                                                                               Create a strong password & a more
                                                                                                               secure account



                                                                                                               Verify your account




                                                                                                        aw
                                                                                                               Control what others see about you
                                                                                                               across   Google services




                                                                                                        @
                                                                                                               Someone changed your password


                                                                                                               Be ready to find a lost Android device


                                                                                                               Manage your Location History




                                                                                                        Ho
                                                                                                               Set up a recovery phone number or
                                                                                                               email address


                                                                                                               Turn cookies on or off




                                                                                                        wo
                                                                                                               How to recover your   Google Account or
                                                                                                               Gmail


                                                                                                               Find & control your Web & App Activity


                                                                                                               Control the ads you see




                                                                                                                                                         PTX-491-0004




                                                                                                                                                           GOOG-WS0OU585-00139526
